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   '         '
 AO 250 (Rev. 09/20) Pro-Sc Motion for Compassion Release


RECEIVED
                                             UNITED STATES DISTRICT COURT
 APR O4 2025
                                                              FOR THE
BY MAIL                                  F ,4stt.N DISTRICT OF MlssottRL
                                                                          Case No. q: 2.1-c..- -0O>Jt.--se.t--l
           UNITED STATES OF AMERICA
                                                                          (write the number of your criminal
                                                                          case)

           v.                                                             MOTION FOR SENTENCE
                                                                          REDUCTION UNDER
                                                                          18 U.S.C. § 3582(c)(l)(A)
                                                                          (Compassionate Release)
           Write your full name here.
                                                                          (Pro Se Prisoner)


                                                            NOTICE

           The public can access electronic court files. Federal Rule of Criminal Procedure 49.1

           addresses the privacy and security concerns resulting from public access to electronic court

           files. Under this rule, papers filed with the court should not contain: an individual's full social

           security number or full birth date; the full name of a person known to be a minor; or a

           complete financial account number. A filing may include only: the last four digits of a social

           security number; the year of an individual's birth; a minor's initials; and the last four digits of

           a financial account number.



         Does this motion include a request that any documents attached to this motion be filed
         under seal? (Documents filed under seal are not available to the public.)

                D Yes

                ~ No
         If you answered yes, please list the documents in section IV of this form.




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      I.       SENTENCE INFORMATION


       Date of sentencing: Q'l..- 1.-C\-1.,Ql,.\4

       Term of imprisonment imposed: 57 1"'_0 " ~ ,

       Approximate time served to date: L,, yt~(J

       Projected release date:                   _ \ 2 - 2.& - '2-0 z_(.

       Length of Term of Supervised Release: _ 1... '/ e~ ~ ~

   Have you filed an appeal in your case?

           □   Yes

           u( No
   Are you subject to an order of deportation or an ICE detainer?

           □   Yes

           [i' No

  II.          EXHAUSTION OF ADMINISTRATIVE REMEDIES 1

  18 U.S.C. § 3582{c}(l}(A) allows you to file this motion (1) after you have fully exhausted all
  administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on your
  behalf, or (2) 30 days after the warden of your facility received your request that the warden
  make a motion on your behalf, whichever is earlier.

  Please include copies of any written correspondence to and from the Bureau of Prisons related
  to your motion, including your written request to the Warden and records of any denial from
  the Bureau of Prisons.




  1   The requirements for this compassionate release motion being filed with the court differ from
  the requirements that you would use to submit a compassionate release request to the Bureau
  of Prisons . This form should only be used for a compassionate release motion made to the
  court. If you are submitting a compassionate release request to the Bureau of Prisons, please
  review and follow the Bureau of Prisons program statement.


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  Have you personally submitted your request for compassionate release to the Warden
  of the institution where you are incarcerated?

         rJ Yes, I submitted a !equest for compassionate release to the warden on
               t - 30 -1.o t { .
         □   No, I did not submit a request for compassionate release to the warden.

  If no, explain why not:




  Was your request denied by the Warden?

         rJ Yes, my request was denied by the warden on (date): 1- 3 -1.oLi,
         '   No. I did not receive a response yet.

  III.       GROUNDS FOR RELEASE

  Please use the checkboxes below to state the grounds for your request for compassionate
  release. Please select all grounds that apply to you. You may attach additional sheets if
 necessary to further describe the reasons supporting your motion. You may also attach any
 relevant exhibits. Exhibits may include medical records if your request is based on a medical
 condition, or a statement from a family member or sponsor.

 A. Are you 70 years old or older?
         □   Yes.

         & No.
 If you answered no, go to Section B below. You do not need to fill out Section A.

 If you answered yes, you may be eligible for release under 18 U.S.C. § 3582(c){l){A)(ii) if you
 meet two additional criteria. Please answer the following questions so the Court can determine
 if you are eligible for release under this section of the statute.




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  Have you served 30 years or more of imprisonment pursuant to a sentence imposed
  under 18 U.S.C. § 3559(c) for the offense or offenses for which you are imprisoned?

      D Yes.

      r;/ No.
  Has the Director of the Bureau of Prisons determined that you are not a danger to the
  safety of any other person or the community?

      D Yes.

      ri No.
  B. Do you believe there are other extraordinary and compelling reasons foryour
     release?

      a/Yes.

      D No.
  If you answered "Yes," please check all boxes that apply so the Court can determine whether
  you are eligible for release under 18 U.S.C. § 3582(c){l)(A){i).

      D I have been diagnosed with a terminal illness.

      D I have a serious physical or medical condition; a serious functional or cognitive
        impairment; or deteriorating physical or mental health because of the aging
        process that substantially diminishes my ability to provide self-care within the
        environment of a correctional facility, and I am not expected to recover from this
        condition.

     D I am 65 years old or older and I am experiencing a serious deterioration in
       physical or mental health because of the aging process.

     D The caregiver of my minor child or children has died or become incapacitated
       and I am the only available caregiver for my child or children.

     D My spouse or registered partner has become incapacitated and I am the only
       available caregiver for my spouse or registered partner.

     J   There are other extraordinary and compelling reasons for my release.


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          Please explain below the basis for your request. If there is additional information regarding any
         of these issues that you would like the Court to consider but which is confidential, you may
         include that information on a separate page, attac~ the page.. to this motion, and, in section IV... , __1   .   <
                                                                                                                  1
         below, request that that attachment be sealed .f<2f/,,~~~                                         ~

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         IV.       ATTACHMENTS AND REQUEST TO SEAL

         Please list any documents you are attaching to this motion. A proposed release plan is included
         as an attachment. You are encouraged but not required to complete the proposed release plan .
         A cover page for the submission of medical records and additional medical information is also
         included as an attachment to this motion. Again, you are not required to provide medical
         records and additional medical information . For each document you are attaching to this
         motion, state whether you request that it be filed under seal because it includes confidential
         information.


          Document                                    Attached?                  Request to seal?
          Proposed Release Plan                       ~ Yes       □ No            □ Yes        JNo
          Additional medical information              ~Yes        □ No            □ Yes        @' No
                                                      □ Yes                       □ Yes        □ No

                                                      □ Yes                       □ Yes        □ No




                                                                                                   Page 5 of 6
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.   '




           V.       REQUEST FOR APPOINTMENT OF COUNSEL

          I do not have an attorney and I request an attorney be appointed to help me.

                J Yes
                □   No

          VI.       MOVANT'S DECLARATION AND SIGNATURE

          For the reasons stated in this motion, I move the court for a reduction in sentence
          (compassionate release) under 18 U.S.C. § 3582(c)(1)(A). I declare under penalty of
          perjury that the facts stated in this motion are true and correct.




           Name



           Bureau of Prisons Register#



           Bureau of Prisons Facility



           Institution's Address                                1




                                                                                         Page 6 of 6
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                   ATTACHMENT TO MOTION FOR COMPASSIONATE RELEASE


                             UNITED STATES DISTRICT COURT
                                               FOR THE
                          fASTtl\           DisTRrcToF         MI SS'o ucI

   UNITED STATES OF AMERICA

                                                             Case No. '1~ 2.l- t.r ·00S-32-S ~P- l
    V.                                                       (write the number of your criminal
                                                             case)


   Write your full name here.


                                   PROPOSED RELEASE-PLAN
         In Support of Motion for Sentence Reduction Under 18 U.S.C. § 3582(c)(l)(A)

                                           NOTICE

   The public can access electronic court files. Federal Rule of Criminal Procedure 49.1 addresses

   the privacy and security concerns resulting from public access to electronic court files. Under

   this rule, papers filed with the court should not contain: an individual's full social security

   number or full birth date; the full name of a person known to be a minor; or a complete

   financial account number. A filing may include only: the last four digits of a social security

   number; the year of an individual's birth; a minor's initials; and the last four digits of a

   financial account number.



  If you provide information in this document that you believe should not be publicly
  available, you may request permission from the court to file the document under seal. If
  the request is granted, the document will be placed in the electronic court files but will
  not be available to the public.

  Do you request that this document be filed under seal?

         □   Yes
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               ATTACHMENT TO MOTION FOR COMPASSIONATE RELEASE

                                PROPOSED RELEASE PLAN
   To the extent the following information is available to you, please include the information
   requested below. This information will assist the U.S. Probation and Pretrial Services Office to
   prepare for your release if your motion is granted.

   A. Housing and Employment

   Provide the full address where you intend to reside if you are released from prison:


                         .
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   Provide the name and phone number of the property owner or renter of the address
   where you will reside if you are re~eased from prison:




   Provide the names (if under the age (?f 18, please use their initials only), ages, and
   relationship to you of any other residents living at the above listed address:




   If you have employment secured, provide the name and address of your employer and
   describe your job duties:
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                ATTACHMENT TO MOTION FOR COMPASSIONATE RELEASE

  B. Medical needs

  Will you require ongoing medical care if you are released from prison?

      J Yes
      □   No

  Will you have access to health insurance if released?

      □   Yes

     ~ No
  If yes, provide the name of your insurance company and the last four digits of the
  policy number. If no, how do you plan to pay for your medical care?




  If nol are you willing to apply for government medical services (Medicaid/Medicare)?

     ~ Yes
     □    No

  Do you have copies of your medical records documenting the condition(s) for which
  you are seeking release?

     □    Yes

     J No
  If yes, please include them with your motion. If no, where are the records located?



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                 ATTACHMENT TO MOTION FOR COMPASSIONATE RELEASE

   Are you currently prescribed medication in the facility where you are incarcerated?

       GYes

       □   No

   If yes, list all prescribed medication, dosage, and frequency:




   Do you require durable medical equipment (e.g., wheelchair, walker, oxygen, prosthetic
   limbs, hospital bed)?

      □    Yes

      r;j No
   If yes, list equipment:




   Do you require assistance with self-care such as bathing, walking, toileting?

      D Yes



   If yes, please list the required assistance and how it will be provided:




   Do you require assisted living?

      D Yes

      uf No
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                ATIACHMENT TO MOTION FOR COMPASSIONATE RELEASE

    If yes, please provide address of the anticipated home or facility and the source of
   funding to pay for it.




   Are the people you are proposing to reside with aware of your medical needs?

       J Yes
       □   No

   Do ~ou have other community support that can assist with your medical needs?

       ~ Yes
       □   No

   Provide their names, ages, and relationship to you. If the person is under the age of 18,
   please use their initials only:




   Will you have transportation to and from your medical appointments?

      /Yes

       □   No

   Describe method of transportation:
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               ATTACHMENT TO MOTION FOR COMPASSIONATE RELEASE

                                              SIGNATURE

    I declare under penalty of perjury that the facts stated in this attachment are true and
    correct.




     Date



     Name



    Bureau of Prisons Register#



    Bureau of Prisons Facility



    Institution's Address
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TRULINCS 36454510 - JOHNSON, DEMETRIUS - Unit: BMP-F-A


FROM : 36454510
TO: Warden USP
SUBJECT: ***Request to Staff"** JOHNSON , DEMETRIUS, Reg# 36454510, BMP-F-A
DATE : 01/30/202511 :10:07 AM

To: RIVERS
Inmate Work Assignment: R OAP

Im respectfully requesting a compassionate release under the the compassionate release clause for Covid-19 and the
complications that it has caused me. I was in custody at the time and I still have complications. I need to start the process of
administative remedies so that I can go before the judge .
                                                                       Case: 4:22-cr-00532-SEP                              Doc. #: 59              Filed: 04/04/25                       Page: 14 of 14 PageID #:
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